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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,
                                                                               WAIVER OF RIGHT TO BE PRESENT
                               -v-                                             AT CRIMINAL PROCEEDING
MORRIS TOOMER,                                                                  20-CR-132 (PAC)
                                           Defendant.
-----------------------------------------------------------------X

Check Proceeding that Applies

____      Entry of Plea of Guilty

          I am aware that I have been charged with violations of federal law. I have consulted with my
          attorney about those charges. I have decided that I wish to enter a plea of guilty to certain
          charges. I understand I have a right to appear before a judge in a courtroom in the Southern
          District of New York to enter my plea of guilty and to have my attorney beside me as I do. I am
          also aware that the public health emergency created by the COVID-19 pandemic has interfered
          with travel and restricted access to the federal courthouse. I have discussed these issues with my
          attorney. By signing this document, I wish to advise the court that I willingly give up my right to
          appear in person before the judge to enter a plea of guilty. By signing this document, I also wish
          to advise the court that I willingly give up any right I might have to have my attorney next to me
          as I enter my plea so long as the following conditions are met. I want my attorney to be able to
          participate in the proceeding and to be able to speak on my behalf during the proceeding. I also
          want the ability to speak privately with my attorney at any time during the proceeding if I wish to
          do so.



Date:                _________________________                       ____________________________
                     Print Name                                      Signature of Defendant



__X__ Sentence

          I understand that I have a right to appear before a judge in a courtroom in the Southern District
          of New York at the time of my sentence and to speak directly in that courtroom to the judge who
          will sentence me. I am also aware that the public health emergency created by the COVID-19
          pandemic has interfered with travel and restricted access to the federal courthouse. I do not wish
          to wait until the end of this emergency to be sentenced. I have discussed these issues with my
          attorney and willingly give up my right to be present, at the time my sentence is imposed, in the
          courtroom with my attorney and the judge who will impose that sentence. By signing this
          document, I wish to advise the court that I willingly give up my right to appear in a courtroom in
          the Southern District of New York for my sentencing proceeding as well as my right to have my
          attorney next to me at the time of sentencing on the following conditions. I want my attorney to
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           be able to participate in the proceeding and to be able to speak on my behalf at the proceeding.
           I also want the ability to speak privately with my attorney at any time during the proceeding if I
           wish to do so.


 Date:              Morris Toomer
                   _________________________                  /s/Morris Toomer
                                                            ____________________________
1/4/2021           Print Name                               Signature of Defendant

 I hereby affirm that I am aware of my obligation to discuss with my client the charges against my client,
 my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and
 this waiver and consent form. I affirm that my client knowingly and voluntarily consents to the
 proceedings being held with my client and me both participating remotely.


 Date:              Esere J. Onaodowan, Esq.
                   __________________________               _____________________________
 1/4/2021          Print Name                               Signature of Defense Counsel




 Date:             _________________________
                   Signature of Defense Counsel




 Accepted:         ________________________
                   Signature of Judge
                   Date: 1/7/2021




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